Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 1 of 19 PageID #:
                                  4811




                             EXHIBIT E
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 2 of 19 PageID #:
                                     4812
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 1 of 18 PageID# 573




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



  JENNIFER R. PSAKI,

        Movant,

  v.                                        Misc. Case No. 1:22-mc-28

  STATE OF MISSOURI ex rel. ERIC S.         Underlying Case No.: 3:22-cv-01213
  SCHMITT, Attorney General, et al.,        (W.D. La.)

        Respondents.



 JENNIFER R. PSAKI’S REPLY TO RESPONDENTS’ OPPOSITION TO HER MOTION
                         TO QUASH A SUBPOENA




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Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 3 of 19 PageID #:
                                    4813
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 2 of 18 PageID# 574




                                 PRELIMINARY STATEMENT

        Plaintiffs’ opposition to Jennifer R. Psaki’s motion to quash the Subpoena issued in

 Missouri, et al. v. Joseph R. Biden, Jr., et al., No. 3:22-cv-01213 (W.D. La. May 5, 2022) fails to

 demonstrate that any supposed need for her testimony to craft injunctive relief against the federal

 government could outweigh the significant burdens imposed on her of preparing and sitting for a

 deposition as a nonparty, former high-ranking official. As result, the Subpoena should be

 quashed as unduly burdensome in light of Ms. Psaki’s status a nonparty private citizen, the

 extensive information already available to Plaintiffs in the record, and Plaintiffs’ access to

 numerous additional sources of information other than Ms. Psaki. Furthermore, Plaintiffs have

 failed to meet their heavy burden for deposing a high-ranking former official under the apex

 doctrine. They have not identified what unique, first-hand information Ms. Psaki—who, as

 White House Press Secretary, reported to the public about information she learned from others—

 can provide or that they have exhausted all reasonable alternative sources.

        This court should also reject any effort to force Ms. Psaki to litigate this motion in the

 issuing court in the Western District of Louisiana because there are no exceptional circumstances

 justifying transfer. This is the only court considering Ms. Psaki’s arguments about the burden of

 a deposition on her as a nonparty, and the issues raised in this matter are severable and distinct

 from those raised by other deponents in the underlying action. The Subpoena should be quashed.

 I.     The Subpoena imposes an undue burden on Ms. Psaki.

        The burdens of complying with this Subpoena are substantial given that Ms. Psaki is not

 a party to this litigation and has no stake in its outcome. To comply with the Subpoena, Ms.

 Psaki must spend numerous days, away from her family and work, preparing for the deposition,

 with not just private counsel, but also with government attorneys, and more time attending it.




                                                   2
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 4 of 19 PageID #:
                                    4814
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 3 of 18 PageID# 575




 See Gilmore v. Jones, 339 F.R.D. 111, 120 (W.D. Va. 2021) (“excessive expenditure of time”

 can constitute an undue burden on a nonparty (quoting Cook v. Howard, 484 F. App’x 805, 812

 n.7 (4th Cir. 2012)). As made clear in the submission by the government, Ms. Psaki must

 exercise extraordinary care in preparing for and providing testimony that respects the bounds of

 executive privilege that arise from her prior position as White House Press Secretary. See Def.

 Mem. at 13–17; see also Psaki Mem. at 11–12. That is an undue burden and disruption in the

 life of a working parent with a full time job, who did not bring the underlying lawsuit and did not

 seek to be a part of it. 1

         Plaintiffs dismiss these burdens that will be imposed on Ms. Psaki, a nonparty to this

 litigation, as “just a burden,” arguing that she has not made a specific factual showing of any

 undue burden. Opp. Mem. at 4; see also id. at 11–12. But whether the burden of complying

 with a subpoena is “undue” is a relative assessment in this context, which “requires the court to

 weigh a subpoena’s benefits and burdens and consider whether the information is necessary and

 whether it is available from any other source.” Intelligent Verification Sys., LLC v. Microsoft

 Corp., No. 2:12CV525, 2014 WL 12544827, at *1 (E.D. Va. Jan. 9, 2014) (quoting Maxiena,

 Inc. v. Marks, 289 F.R.D. 427, 439 (D. Md. 2012). In this case, the burdens that Plaintiffs seek

 to impose on Ms. Psaki are entirely unwarranted when considered in light of her nonparty status,

 the lack of need for her testimony, and the availability of the information Plaintiffs seek by other


 1
   It appears that the proposed deposition, which Plaintiffs intend to record by video, will also
 significantly intrude on Ms. Psaki’s privacy interests. Defendants have sought a protective order
 in the Western District of Louisiana that would prevent Plaintiffs from publicly disseminating
 audiovisual recordings from the deposition of witnesses, including of Ms. Psaki. WDLA Dkt.
 110 at 1. Plaintiffs have urged that court to deny the motion for a protective order completely
 because of “the overwhelming interests in public access and public disclosure to the evidence
 and filings in this case.” WDLA Dkt. 114 at 1–2. Plaintiffs’ effort to file publicly audiovisual
 recording of Ms. Psaki, and their failure to suggest a compromise protective order, is completely
 unwarranted and further increases the burdens of compliance for Ms. Psaki.


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Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 5 of 19 PageID #:
                                    4815
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 4 of 18 PageID# 576




 means. See Gilmore, 339 F.R.D. at 120 (requiring “special weight” be given to nonparty status).

 In other words, the burden here is not outweighed by a countervailing need for Ms. Psaki’s

 nonparty testimony, making it undue.

        Plaintiffs’ alleged need for deposing Ms. Psaki is to identify federal officials who are in

 contact with social-media companies, and the content of their communications, so that Plaintiffs

 can seek to enjoin those officials who purportedly “censor Americans’ online speech and the

 methods by which they do so.” See Opp. Mem. at 3; see also WDLA Dkt. 18 at 3 (“A fully

 effective preliminary injunction will not only enjoin Defendants in general terms from trampling

 on free-speech rights on social media, but it will enjoin the specific actors most directly engaged

 in such unlawful activity, and their specific unlawful conduct.”). But the record is clear that, to

 the extent Plaintiffs are entitled to any more information on this issue, they do not need to get it

 from Ms. Psaki.

        First, Plaintiffs do not deny that they have already amassed, and continue to develop,

 significant amounts of information about communications between the federal government and

 social-media companies that can help them shape their requested injunction. Defendants have

 produced over 15,000 pages of documentary evidence, which includes the identities of federal

 officials communicating with social-media companies and the nature of those communications.

 See WDLA Dkt. 86 at 40, 43 (Defendants’ statement about documentary evidence produced);

 see, e.g., WDLA Dkt. 71 at 407–411 (email correspondence produced). Plaintiffs served third-

 party subpoenas on Twitter, Facebook, Instagram, YouTube, and LinkedIn seeking the identities

 of officials communicating with them about misinformation and the nature of those

 communications, and Plaintiffs identified dozens of federal officials in contact with these

 companies as a result. See WDLA Dkt. 71 at 4–5. And Plaintiffs are now in the process of




                                                   4
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 6 of 19 PageID #:
                                    4816
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 5 of 18 PageID# 577




 deposing several current officials who can provide direct information of the sort Plaintiffs seek to

 fashion injunctive relief. See WDLA Dkt. 90 at 27 (authorizing seven depositions of current

 officials as well as Ms. Psaki); WDLA Dkt. 104 (allowing depositions to proceed despite the

 pending mandamus proceedings). In light of this extensive information, Plaintiffs have not

 shown why a deposition of Ms. Psaki is necessary for them to propose an effective injunction to

 the Louisiana district court.

        Second, Plaintiffs merely speculate based on her press briefings that Ms. Psaki can

 identify other federal officials and provide additional information about their communications.

 Defendants’ amended interrogatory responses included responses from the current Press

 Secretary identifying which individuals Ms. Psaki was likely referring to in her statements about

 officials communicating with social-media companies. See WDLA Dkt. 86-3 at 77–79. 2

 Although, as Plaintiffs note, the Press Secretary qualified her responses by stating her office

 could only speak to its own understanding of Ms. Psaki’s statements, see e.g., Opp. Mem. at 7–8,

 that itself is not a basis to assume there is more to learn or that Ms. Psaki herself can provide

 more. 3 There is no serious dispute that Ms. Psaki does not have first-hand information about



 2
   Additional Interrogatory No. 17 (Ms. Jean-Pierre No. 6) requested Ms. Jean-Pierre to “Identify
 all ‘members of our senior staff’ and/or ‘members of our COVID-19 team’ who are ‘in regular
 touch with … social media platforms,’ as [Jennifer Psaki] stated at a White House press briefing
 on or around July 15, 2021, including the nature of the communication and/or coordination.”
 WDLA Dkt. 86-3 at 74. Defendants amended their responses to include the following answer:
 “It is the understanding of the White House Office of the Press Secretary . . . that, in making this
 statement, Ms. Psaki was referencing the following individuals as ‘members of our senior staff’
 or ‘COVID-19 team’ within the White House: Robert Flaherty and Andrew Slavitt.” Id. at 77–
 78.
 3
   Plaintiffs also assume, without any support, that there is some secret explanation for Ms.
 Psaki’s self-explanatory statements. For example, when asked what Ms. Psaki meant by the term
 “asks” in the statement, “We engage with them [i.e., Social-Media Platforms] regularly and they
 certainly understand what our asks are,” it was not enough for Plaintiffs that Defendants pointed
 to Ms. Psaki’s own words during that briefing which outline four explicit proposals the

                                                   5
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 7 of 19 PageID #:
                                    4817
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 6 of 18 PageID# 578




 communications between federal officials and social-media companies: By virtue of her role as

 Press Secretary, Ms. Psaki only received information to report to the public from other sources in

 the government, and, as Defendants acknowledge, did not herself communicate with social-

 media companies, see WDLA Dkt. 86 at 36. Not only does Ms. Psaki’s lack of first-hand

 information lessen the value of her testimony, but it also means that Defendants are able to base

 their responses on the same or similar sources that informed Ms. Psaki’s talking points in the

 first place. And Plaintiffs have the opportunity to depose at least one of the individuals that

 Defendants identified as having some first-hand knowledge to learn about their communications

 with social-media companies and to ask for the identities of others involved. See WDLA Dkt. 90

 at 27. Plaintiffs also have access to those individuals’ documents and communications through

 Defendants’ document production. See, e.g., WDLA Dkt. 86 at 11–14.

        In this context, there is limited utility in deposing Ms. Psaki, a secondhand source who is

 also over six months removed from her time with the government. Any speculative benefit of

 her testimony is far outweighed by the burden of preparing and sitting for a deposition as a

 former government official. Notably, Plaintiffs cite no comparable cases where a court has

 ordered the deposition of a nonparty, much less of a former high-ranking official, to elicit

 secondhand information that the requesting party merely speculates might be new.

        Third, Plaintiffs also had available, but chose not to pursue, many other means by which

 to learn about the “who, what, and how” of communications between the government and social-

 media companies. See Opp. Mem. at 13. For example, Defendants offered to make available for

 deposition various federal officials who were most likely to have direct information about the



 government made to social-media groups. WDLA Dkt. 86-3 at 77–78, 84; see Opp. Mem. at 18.
 Plaintiffs cannot ignore obvious explanations as a way to demand further testimony.


                                                  6
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 8 of 19 PageID #:
                                    4818
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 7 of 18 PageID# 579




 government’s communications with social-media companies on issues of COVID-19 and

 election security—such as the Chief of Staff to the Surgeon General and the Associate Director

 of Election Security and Resilience at the Cybersecurity and Infrastructure Security Agency. See

 WDLA Dkt. 86 at 62–63 (identifying five individuals); see also Def. Mem. at 23. These

 individuals were much more likely than Ms. Psaki to have the specific information that Plaintiffs

 seek to craft their injection. Nor did Plaintiffs seek depositions of any employees of the social-

 media companies with whom the purportedly improper communications occurred, or a Rule

 30(b)(6) deposition of those companies to identify all communicants and the nature of their

 communications. Furthermore, if Plaintiffs’ real goal was to identify all government employees

 communicating with social-media companies about alleged censorship, they could have sought a

 Rule 30(b)(6) deposition of relevant Executive offices or agencies. Cf. In re McCarthy, 636 F.

 App’x 142, 144 (4th Cir. 2015) (authorized Rule 30(b)(6) deposition of EPA was a sufficient

 alternative to deposing EPA Administrator about her statements to Congress); see, e.g.,

 Alexander v. F.B.I., 186 F.R.D. 137, 138 (D.D.C. 1998) (involving 30(b)(6) of Executive Office

 of the President). Instead, Plaintiffs are trying to seek testimony from someone who merely

 reported information that she received from others.

        Fourth, this Court should reject Plaintiffs’ attempts to blame the government for the

 burdens Plaintiffs are trying to impose by the Subpoena. Plaintiffs argue that the substantial

 effort it takes to prepare for a deposition as a former high-ranking official “does not reflect any

 burden that the subpoena imposes on Ms. Psaki but rather alleged burdens her former employer

 imposes.” Opp. Mem. at 12. The federal government has clear confidentiality interests at stake

 when former officials are called to testify, and it has a right to seek to protect testimony subject

 to governmental privileges, including executive privilege, by fully preparing Ms. Psaki for this




                                                   7
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 9 of 19 PageID #:
                                    4819
Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 8 of 18 PageID# 580




 deposition. As the Fourth Circuit has explained, “a subpoena may impose a burden by invading

 privacy or confidentiality interests,” and courts may “consider the interests of the recipient of the

 subpoena, as well as others who might be affected.” Virginia Dep’t of Corr. v. Jordan, 921 F.3d

 180, 189–90 (4th Cir. 2019) (subpoena seeking information from a business about its customers

 may, for example, implicate customers’ privacy interests). This Court can and should take into

 account the burdens imposed on Ms. Psaki by having to prepare and testify under such

 circumstances, especially when she is not a party to this suit and her testimony is unnecessary

 and needlessly cumulative. Furthermore, the reason Ms. Psaki would need to devote time to

 prepare for and testify about information that could implicate claims of executive privilege is due

 to the Plaintiffs’ filing of this lawsuit and seeking a completely unwarranted deposition at the

 nascent stage of the case, not to the government’s seeking to protect a well-recognized privilege.

         Plaintiffs also fault Ms. Psaki for not engaging in additional meet-and-confer efforts to

 narrow the scope of the subpoena to (presumably) reduce the burden on her. Opp. Mem. at 10–

 11. But Plaintiffs themselves make clear that they would have been unwilling to narrow the

 subpoena or to consider an alternative to a burdensome deposition. See Opp. Mem. at 19 (“An

 oral deposition of Ms. Psaki is the only reasonable means of obtaining information in Ms.

 Psaki’s possession that is central to [Plaintiffs’] claims.”).

         In sum, given the wealth of information Plaintiffs have already collected, and continue to

 collect, the many direct sources of information at their disposal, and the lack of any actual need

 for additional information, Plaintiffs have not demonstrated the need for Ms. Psaki’s nonparty

 testimony, let alone a need sufficient to overcome the significant burden that preparing for and

 sitting for a deposition would impose.




                                                    8
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 10 of 19 PageID #:
                                     4820
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 9 of 18 PageID# 581




  II.    No exceptional circumstances warrant deposing a former high-ranking official.

         Plaintiffs do not dispute that courts require an exceedingly demanding showing of

  “exceptional circumstances” to justify the deposition of a former high-ranking government

  official. Fed. Deposit Ins. Corp. v. Galan-Alvarez, No. 1:15-MC-00752 (CRC), 2015 WL

  5602342, at *3 (D.D.C. Sept. 4, 2015). Plaintiffs concede that Ms. Psaki is a former high-

  ranking official, Opp. Mem. at 13, and that they must therefore demonstrate a need for “unique

  first-hand knowledge” from Ms. Psaki and the exhaustion of all reasonable alternatives, Galan-

  Alvarez, 2015 WL 5602342, at *3 (quoting Lederman v. N.Y.C. Dep’t of Parks & Recreation,

  731 F.3d 199, 203 (2d Cir.2013)); In re U.S. Dep’t of Educ., 25 F.4th 692, 704 (9th Cir. 2022).

  Plaintiffs have failed to make these showings.

         First, as discussed above, Plaintiffs merely speculate that Ms. Psaki has “unique” first-

  hand knowledge about the alleged “Censorship Enterprise,” WDLA Dkt. 86 at 2, based upon her

  public statements as Press Secretary. See Opp. Mem. at 14–15. But it is not disputed that Ms.

  Psaki’s public statements reflect information provided by others. Her knowledge of the alleged

  underlying censorship actions cannot be unique because it was obtained, and is obtainable from,

  other sources. See Galan-Alvarez, 2015 WL 5602342, at *5 (that the FDIC Chairperson “may

  have attended meetings and requested briefings and documents” on a project that was the subject

  of the litigation did “not demonstrate that any knowledge she gained of the project was unique;

  rather, it [was] further evidence that lower-ranking officials generated the information presented

  to [the] Chairperson”); In re McCarthy, 636 F. App’x at 144 (rejecting plaintiffs’ argument that

  “only [the EPA Administrator] can speak to the dichotomy evidenced in her statements [before

  Congress] and EPA’s litigation position” where plaintiffs could pursue a Rule 30(b)(6)

  deposition as an alternative).




                                                   9
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 11 of 19 PageID #:
                                      4821
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 10 of 18 PageID# 582




         As set forth in Ms. Psaki’s motion to quash, Courts have routinely rejected efforts to

  depose high-ranking government officials where, as here, the information sought can be obtained

  from other sources. Psaki Mem. at 16. This message was reiterated just this week when, in a

  suit by organizations alleging, among other things, violations of their First Amendment rights,

  the Fifth Circuit rejected plaintiffs’ attempt to depose Texas Attorney General Ken Paxton about

  what he meant when he made statements on Twitter and in interviews indicating he would

  pursue civil actions and assist with criminal prosecutions against Texans who facilitate out-of-

  state abortions. In re Paxton, No. 22-50882, 2022 WL 16921697, at *1 (5th Cir. Nov. 14, 2022);

  see Fund Texas Choice v. Paxton, No. 1:22-CV-859-RP, 2022 WL 6851755, at *2 (W.D. Tex.

  Oct. 4, 2022), mandamus granted, order vacated sub nom. In re Paxton, No. 22-50882, 2022 WL

  16921697 (5th Cir. Nov. 14, 2022). These public statements contradicted Attorney General

  Paxton’s position in the litigation that he was not an enforcement threat, and the district court

  found that only he could explain which position represents his official stance. Fund Texas

  Choice, 2022 WL 6851755, at *5. The Fifth Circuit held that it was error to “treat[] Paxton as

  having unique information merely because he made public statements about a matter that later

  became the subject of litigation,” when plaintiffs could simply ask the Attorney General’s office

  for that same information. In re Paxton, 2022 WL 16921697, at *4. The court cautioned that, if

  making public comment “imparts unique knowledge, high-level officials will routinely have to

  testify.” Id. Here too, on much weaker facts, Plaintiffs “treat [Ms. Psaki] as having unique

  information merely because [she] made public statements about a matter that later became the

  subject of litigation.” See id. The real information Plaintiffs purport to seek can be sourced

  directly from current government employees and social-media companies themselves.




                                                   10
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 12 of 19 PageID #:
                                      4822
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 11 of 18 PageID# 583




         Furthermore, Plaintiffs have not met their burden of showing that Ms. Psaki’s first-hand

  knowledge is “essential to the case.” In re U.S. Dep’t of Educ., 25 F.4th at 703. In particular,

  Plaintiffs have not demonstrated that Ms. Psaki even has information needed to shape their

  proposed injunctive relief in addition to what Plaintiffs have already obtained. See id. (high-

  ranking officials’ testimony must not only be relevant but also “necessary”); cf. Am. Broad.

  Companies, Inc. v. U.S. Info. Agency, 599 F. Supp. 765, 769 (D.D.C. 1984) (agency director

  properly deposed where he was “the sole person responsible for the creation of the documents in

  question”).

         Second, Plaintiffs have failed to show “[e]xhaustion of all reasonable alternative

  sources.” In re U.S. Dep’t of Educ., 25 F.4th at 704; In Re Bryant, 745 F. App’x 215, 221 (5th Cir.

  2018) (no “entitlement” to discovery from a high-ranking official if “an alternative witness can

  provide the relevant information”). As discussed above in the context of the undue burden

  imposed by the Subpoena, Plaintiffs have not, and cannot, show that they have exhausted all

  such alternatives when they are currently proceeding with depositions of several current officials

  and also chose not to pursue testimony from other individuals and offices with direct knowledge

  of the relevant issues.

         Third, Plaintiffs argue that the policy rationales that undergird the restrictions against

  deposing high-ranking government officials—concerns about the separation of powers and

  discouraging government employment—are not implicated in this case. See Opp. Mem. at 19–

  20. But these are the principles that animate the heightened standard for deposing all high-

  ranking Executive officials, not elements that need to be proven each time an official asserts the

  protection. Cf. Galan-Alvarez, 2015 WL 5602342, *4–5 (discussing policy rationales to

  determine whether doctrine applies to former officials but focusing analysis on whether

  exceptional circumstances were present before quashing subpoena); In re U.S. Dep’t of Educ., 25


                                                    11
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 13 of 19 PageID #:
                                     4823
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 12 of 18 PageID# 584




  F.4th at 704–05 (similar); see also United States v. Newman, 531 F. Supp. 3d 181, 188–89

  (D.D.C. 2021).

         Moreover, the concerns underlying the restrictions on deposing high-ranking officials are

  in fact implicated here. Plaintiffs argue that, because Ms. Psaki was not a decision-maker on the

  issues underlying their lawsuit, her deposition would not result in unwarranted intrusion on the

  Executive’s decision-making process. Opp. Mem. at 19–20. But questioning Ms. Psaki about

  the basis for information she received from others, including the President, nevertheless involves

  intrusion upon other decision-making processes, such as those about what and how to report

  matters to the public. Such testimony may also be prohibited under various privileges, including

  those protecting presidential communications and the deliberative process. That Ms. Psaki was

  not a relevant decision-maker on matters of coordination with social-media companies only

  reinforces that she is not the best source of the information Plaintiffs claim they need; it does not

  mean that she was not a part of, or privy to, other decision-making processes that deserve

  protection.

         Plaintiffs also assert that deposing Ms. Psaki will not deter others from seeking the

  “coveted role of White House Press Secretary.” Opp. Mem. at 20. But that is not an argument

  unique to the role of Press Secretary. Service in high-ranking government jobs may lead to

  reputational enhancement and future career opportunities—but courts nevertheless have

  recognized the chilling effect caused by depositions of high-ranking government officials. See

  Newman, 531 F. Supp. 3d at 188 (need to “encourage public service by protecting officials from

  indiscriminate questioning” is a policy rationale (quoting Galan-Alvarez, 2015 WL 5602342 at

  *4)); In re U.S. Dep’t of Educ., 25 F.4th at 705 (“If allowed the minute cabinet secretaries leave

  office, overwhelming and unnecessary discovery could also discourage them from taking that




                                                   12
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 14 of 19 PageID #:
                                      4824
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 13 of 18 PageID# 585




  office in the first place or leaving office when there is controversy.”). In other words, on this

  point, Plaintiffs are merely rejecting the premise of the apex doctrine, which courts routinely

  accept.

            For all of these reasons, Plaintiffs have not demonstrated the “exceptional circumstances”

  that could justify deposing Ms. Psaki, a former high-ranking official.

            III.   No exceptional circumstances warrant transferring this matter.

            Plaintiffs advance three arguments for transfer to the Western District of Louisiana under

  Rule 45(f), none of which is persuasive.

            First, Plaintiffs suggest that Ms. Psaki is asking this court to decide issues already

  decided by the Louisiana district court, particularly whether a deposition would impose an undue

  burden on Ms. Psaki. Opp. Mem. at 22–24. Not so. Plaintiffs merely point to a single,

  generalized statement by the district court—“[a]ny burden on Psaki is outweighed by the need to

  determine whether free speech has been suppressed”—to argue that the district court considered

  and rejected Ms. Psaki’s arguments about undue burden. Opp. Mem. at 27. That argument

  ignores that the district court did not conduct any analysis of “undue burden” under Rule 45, may

  have improperly considered Ms. Psaki as a “defendant” rather than as a nonparty, WDLA Dkt.

  90 at 15, and did not receive any submissions from Ms. Psaki as to burden. Moreover, by

  Plaintiffs’ logic, all motions to quash in postures such as this one should be heard by the district

  court issuing the subpoena, as that court will necessarily have considered arguments about the

  supposed need to issue the subpoena—but Rule 45 establishes the exact opposite paradigm, in

  which there is a presumption that the court where a witness is located should adjudicate her

  motion to quash. See Galan-Alvarez, 2015 WL 5602342, at *3. Rule 45 authorizes this Court to

  consider the burdens imposed on Ms. Psaki from her perspective as a nonparty.




                                                     13
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 15 of 19 PageID #:
                                      4825
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 14 of 18 PageID# 586




            Second, Plaintiffs argue that transfer is appropriate because there is a risk of “inconsistent

  rulings on depositions sought in multiple districts” and “with regards to the very subpoena at

  issue here.” Opp. Mem. at 25. As an initial matter, this Court should quash the subpoena based

  on undue burden to Ms. Psaki, an issue that is undisputedly not before any other court.

  Moreover, although the Louisiana court or the Fifth Circuit may be considering similar legal

  arguments under the apex doctrine related to the depositions of several high-ranking current

  government officials, the facts and issues as to Ms. Psaki are distinct. Plaintiffs do not dispute

  that Ms. Psaki was a high-ranking official. See Opp. Mem. at 13–14. Their argument instead

  hinges on their speculation that she has unique information they cannot source elsewhere. That

  is a determination this Court can make based on a straightforward review of the record, and it

  would not impact another court’s rulings about other pending depositions. Cf. In re Nonparty

  Subpoenas Duces Tecum, 327 F.R.D. 23, 25–26 (D.D.C. 2018) (transfer was warranted where

  the motion to quash and a motion to compel in another district “put largely the same information

  at issue”); Wultz v. Bank of China, Ltd, 304 F.R.D. 38, 45–46 (D.D.C. 2014) (transfer

  appropriate where decision on a motion to quash required familiarity with a complex record in

  the underlying litigation and would “impact four other separate but related actions” in another

  court).

            Third, Plaintiffs accuse Defendants and Ms. Psaki of asking this court to consider the

  merits of the underlying First Amendment lawsuit, based largely on Defendants’ passing

  challenge to Plaintiffs’ characterizations of Ms. Psaki’s statements as indicative of a conspiracy.

  Opp. Mem. at 26 (citing Def. Mem. at 18–21). But the legal questions before this Court—

  whether the testimony imposes an undue burden and whether the apex doctrine permits her

  testimony—are “severable from the merits of the underlying litigation.” Galan-Alvarez, 2015




                                                     14
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 16 of 19 PageID #:
                                     4826
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 15 of 18 PageID# 587




  WL 5602342, at *3 (“Ruling on the motion to quash requires this Court to determine whether a

  legal doctrine protects high-ranking current and former government officials from testifying. It

  does not necessitate wading into the merits or intricacies of the FDIC’s allegations . . . .”). This

  Court need not comment on, much less delve into, whether there is any legal or factual merit to

  Plaintiffs’ allegations about conspiracies and a “Censorship Enterprise” in order to quash the

  Subpoena as to Ms. Psaki.

         Because there are no exceptional circumstances that warrant transferring this motion to

  the Western District of Louisiana, and any such transfer would only exacerbate the burdens

  imposed on Ms. Psaki by requiring her to litigate the merits of this subpoena far away from her

  home, transfer would be inappropriate. See Fed. R. Civ. P. 45(f) advisory committee’s note to

  2013 amendments (in assessing transfer requests, “prime concern should be avoiding burdens on

  local nonparties subject to subpoenas”). 4

                                            CONCLUSION

         For the foregoing reasons, the Subpoena should be quashed.




  4
    Plaintiffs also accuse Ms. Psaki of improperly responding to the deposition and document
  demands separately. Ms. Psaki has written to Plaintiffs informing them that she does not have
  access to relevant records. Furthermore, the Louisiana district court did not authorize document
  discovery at all as to Ms. Psaki. See Exhibit 1.


                                                   15
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 17 of 19 PageID #:
                                     4827
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 16 of 18 PageID# 588




    Dated: November 16, 2022           JENNIFER R. PSAKI

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                                      16
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 18 of 19 PageID #:
                                     4828
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 17 of 18 PageID# 589




                                       CERTIFICATE OF SERVICE

          I hereby certify that on the 16th day of November, 2022, I electronically filed the

   foregoing with the Clerk of the Court using the CM/ECF system, which will transmit a copy to

   all counsel of record as follows:


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                                                   17
Case 3:22-cv-01213-TAD-KDM Document 119-5 Filed 11/18/22 Page 19 of 19 PageID #:
                                     4829
 Case 1:22-mc-00028-PTG-IDD Document 24 Filed 11/16/22 Page 18 of 18 PageID# 590




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                                      18
